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     48205
              8994
                                     UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF PUERTO RICO

        IN THE MATTER OF:                                    CASE NO:        14-08732-ESL

        MANUEL E MALARET MARTINEZ,                           CHAPTER:        13


        Debtor(s).

                       Wells Fargo Bank, N.A.,
                              Movant,

                  MANUEL E MALARET MARTINEZ,

                       Debtors-Respondents,

                      José R. Carrión Morales,
                              Trustee.

                                              MOTION TO INFORM
       TO THE HONORABLE COURT:

             COMES now Movant, Wells Fargo Bank, N.A., (“Wells Fargo”), through the undersigned

       counsel, and very respectfully states and requests:

             1.   Wells Fargo herein, informs this Honorable Court, that Debtor began and completed a

       trial period with Wells Fargo’s Loss Mitigation Department, which consisted of three trial

       payments, the first becoming due on September 1, 2015 and the last on November 1, 2015.

             2.   Notwithstanding the aforementioned, the loan modification has not occurred as the

       documents pertaining to the modification have not been signed by Debtor and Debtor’s counsel.

             3.   Wells Fargo is currently in the process of obtaining the signatures and as soon as the

       same are obtained Wells Fargo will proceed to file an amended proof of claim accordingly.
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       Case No. 14-08732-ESL
       Motion to Inform

           WHEREFORE, Wells Fargo respectfully requests from this Honorable Court to take notice of
       the aforementioned.
           RESPECTFULLY SUBMITTED

           I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk of the

       Court using the CM/ECF system which will send notification of such filing to all participants of the

       CM/ECF system; to the Chapter 13 Trustee José R. Carrión Morales, Esq.; and to Debtors’

       counsel, Jaime L. Velasco Bonilla, II, Esq.

           In San Juan, Puerto Rico, this 17th day of December, 2015.


                                    MARTINEZ & TORRES LAW OFFICES, P.S.C.
                                   P.O. Box 192938 San Juan, PR 00919-2938
                                   Tel. (787) 767-8244 & Fax (787) 767-1183

                                        /s/Patricia I. Varela Harrison
                                         By: Patricia I. Varela Harrison
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                                    Email: pvarela@martineztorreslaw.com




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